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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA, )                   CRIMINAL CASE NO.
                          )
v.                        )                   2:23-CR-012
                          )
PATRICK JOHN AGNEW,       )
    Defendant.            )


 CONSENT MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
                      MOTIONS

      COMES NOW, the Petitioner above-named, by and through undersigned

counsel, and files this his Motion for Extension of Time to File Pretrial Motions in

the above-captioned matter. In support thereof, Petitioner shows as follows:

      1. The Petitioner’s Pretrial Motions are currently due on or before December

11, 2023 in the above-captioned matter.

      2. Undersigned is lead counsel for the Defendant in State of Georgia v.

Quamarvious Nichols, Case No. 22SC183572, in which trial commenced on

January 4, 2023, at 9:00 a.m., before Judge Glanville, in the Fulton County Superior

Court. This is a RICO case with multiple defendants. The trial is anticipated to last

up to a year.

      3. Counsel requested the approval of Jennifer Keene, Assistant United States

Attorney, who is unopposed to this motion.



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      4. Co-Counsel Jeff Talley is available to appear at the Pretrial Conference

scheduled for December 13, 2023 if the Court wishes.

      WHEREFORE, based upon the foregoing, the undersigned requests that the

Court enter an Order granting this motion and allow him an additional forty five (45)

day extension from December 11, 2023 to file Pretrial Motions.

      This 11 day of December 2023.

                                       Respectfully submitted,


                                       /s/ Bruce S. Harvey
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                                       ATTORNEY FOR PETITIONER
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